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                 UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA Magistrate No. 24-1036

           V,



MICHELLEPETERSON



      The financial ability of the defendant to retain counsel having been

established by the Court/ and the defendant not having waived the appointment of

counsel/

      IT IS on this 2nd day of_E\/tay_, 2024
      ORDERED that the Office of the Federal Public Defender for the District of

New Jersey is hereby appointed to represent said defendant in this cause until

furtherOrderofthe Court.




                                      /s/Andrea D. Beraman
                                      HONORABLE ANDREA D. BERGMAN
                                      UNiTED STATES MAGISTRATE JUDGE
